
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0231-06






EFRAIN ALAMEDA, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SECOND COURT OF APPEALS


TARRANT COUNTY





		Meyers, J., delivered the opinion of the Court, in which Keller, P.J., and
Price, Johnson, Keasler, Hervey, and Cochran, JJ., joined.  Keller, P.J., filed a
concurring opinion, in which Keasler and Hervey, JJ., joined.  Womack, J., joined in
part and filed a concurring opinion.  Holcomb, J., filed a dissenting opinion.


O P I N I O N 



	Appellant was convicted of two counts of aggravated sexual assault of a child under
fourteen.  The jury assessed punishment at thirty years' confinement for each count, and the
trial judge ordered that the sentences be served consecutively.  Appellant appealed the
stacking order, as well as the trial court's decision to admit an audio tape of his
conversations with the victim and a transcription of the audio tape.  The court of appeals
held that the trial court did not err in stacking Appellant's sentences or in admitting the
audio tape and the transcript.  Alameda v. State, 181 S.W.3d 772 (Tex. App.-Ft. Worth
2005).  We agree and affirm the decision of the court of appeals.

FACTS AND PROCEDURAL HISTORY


	While Appellant was going through a divorce, he moved in with the 12-year-old
victim, J.H., and her mother, Deborah, whom Appellant had known for eight or nine years. 
He lived in an extra bedroom in Deborah's home for close to a year.  After Appellant
moved out, Deborah became suspicious (1) that Appellant and J.H. were communicating
without her knowledge, so she attached to the phone jack in her garage a recording device
that would record all incoming and outgoing calls on her home telephone.  Over two weeks,
Deborah recorded almost twenty hours of conversation between Appellant and J.H., neither
of whom knew that they were being recorded.  Deborah did not suspect that Appellant and
J.H were having a sexual relationship until she heard the recording of their conversations. 
Deborah took the audiotape to the police, and Appellant was charged with aggravated sexual
assault of a child.  

	Prior to his trial, Appellant filed a motion to suppress the audiotapes.  He claimed
that it was an offense under Penal Code section (2) 16.02 to intentionally intercept a wire
communication without consent, so the audiotape was inadmissable under Code of Criminal
Procedure article (3) 38.23.  The trial judge found that Deborah could vicariously consent to
the recording of J.H.'s phone conversations, so the audiotape was admissible. 

	After Appellant was convicted, he appealed the trial court's decision to admit the
audiotape and a transcript of the recording.  He also appealed the trial court's cumulation of
the two 30-year sentences imposed by the jury, arguing that the jury should decide whether
the sentences were cumulated rather than the trial judge.  Because there are no Texas cases
on this issue, the court of appeals looked at other state courts, as well as at how federal
courts have interpreted the federal wiretap law, which is similar to the Texas law.  The court
of appeals considered the factors outlined in Pollock v. Pollock, 154 F.3d 601 (6th Cir.
1998), which held that a parent may give vicarious-consent to record a child's telephone
conversations if the parent has a good-faith basis for believing that recording is in the best
interest of the child.  Although vicarious-consent is not listed as an exception to the Texas
wiretap law, the court of appeals held that, in order to protect a child, a parent may record
her child's telephone conversations if the recording meets the standards in Pollock. 
Alameda, 181 S.W.3d at 778.  The court of appeals agreed with the trial court's
determination that Deborah had a good-faith, objectively reasonable belief that recording
the phone conversations was in the best interest of J.H. and therefore upheld the trial
court's denial of Appellant's motion to suppress.  Id. at 780.  Because the court held that
the audiotape was properly admitted, and Appellant conceded that the transcript was
admissible if the audiotape was admissible, the court of appeals did not address the
admissibility of the transcript.  Id.  The court of appeals also rejected Appellant's claim
regarding the cumulation of his sentences, stating that it was not improper for the trial
judge, rather than the jury, to determine whether the sentences would be cumulated.  Id. at
781.  Because the cumulating of the sentences does not exceed the statutory maximum for
the offense, the court held that the cumulated sentence does not violate Apprendi v. New
Jersey, 503 U.S. 466 (2000).  Alameda, 181 S.W.3d at 781. 

	Appellant filed a petition for discretionary review, asking us to consider whether the
court of appeals erred in grafting an exception into the relevant statute in order to conclude
that the audiotape was properly admitted.  Appellant argues that because the court of
appeals improperly held that the audiotape was admissible, the court erred in failing to
address the merits of his claim that the transcript of the audiotape was improperly admitted. 
Finally, Appellant asks us to consider whether the court of appeals erred in holding that the
trial court's cumulation of his sentences does not violate Apprendi.  

DISCUSSION

Admissibility of the Audiotape

	Article 38.23(a) of the Texas Code of Criminal Procedure states, "No evidence
obtained by an officer or other person in violation of any provisions of the Constitution or
laws of the State of Texas, or of the Constitution or laws of the United States of America,
shall be admitted in evidence against the accused on the trial of any criminal case."
Therefore, because section 16.02(b) (4) states that a person commits an offense if he
intentionally intercepts a wire communication, the audiotapes are inadmissible unless the
vicarious-consent given by Deborah meets the consent exception to this statute (5)
 or the
interception was legal for some other reason.  Appellant argues that the vicarious-consent
exception does not apply to the wiretap laws.  He bases this argument on Duffy v. State, 33
S.W.3d 17, 25 (Tex. App.--El Paso 2000, no pet.), and Kent v. State, 809 S.W.2d 664, 668
(Tex. App.--Amarillo 1991, pet. ref'd), in which both courts stated that section 16.02 must
be applied in all circumstances that are not specifically excepted.  However, as the court of
appeals noted, Duffy and Kent are distinguishable from Appellant's case because those
cases addressed whether one spouse can vicariously consent to the recording of the other
spouse's conversation, rather than the issue of whether a parent can vicariously consent to
the recording of her child's conversations.  Alameda, 181 S.W.3d at 775 n. 1.  The fact that
there is no interspousal consent exception to the wiretap statute does not preclude us from
recognizing a parent-child vicarious-consent exception.  

	Appellant also cites cases related to a minor child's right to seek an abortion or to
purchase contraceptives without parental consent for the proposition that a child has the
right to privacy, and this general right to privacy should not be taken from the child unless
there is a significant state interest.  Appellant further argues that, because the Texas Family
Code (6) lists the circumstances under which a parent has the right to consent on behalf of a
child and does not mention the right to consent to the recording of a child's conversations,
we should assume that the legislature intended that no such right exist.  

	We disagree.  We dealt with both the right to privacy and a mother's ability to
consent for her child in Sorensen v. State, 478 S.W.2d 532 (Tex. Crim. App. 1972).  Even
though the child in Sorensen was not a minor, we held that a child has no reasonable
expectation of privacy in his room when the parent routinely enters the room, and that a
parent can vicariously consent to a search of her child's room.  Id. at 534.  Therefore, we
reject Appellant's contentions that the vicarious-consent exception unlawfully violates a
minor's right to privacy and that a parent has the right to consent only in the circumstances
listed in the family code. 

	Because no Texas cases have addressed a parent's ability to vicariously consent to
the recording of a child's telephone conversations, and the federal wiretap statute is
substantively the same as the Texas statute, we look to the Sixth Circuit's decision in
Pollock v. Pollock, 154 F.3d 601 (6th Cir. 1998), which is the leading case regarding the
vicarious-consent doctrine in the context of the federal wiretap statute. (7)  In Pollock, the
plaintiff was the child's stepmother and the defendant was the child's mother.  The
stepmother appealed the trial court's determination that the mother had not violated Title III
of the Omnibus Crime Control and Safe Streets Act, 18 U.S.C. § 2511 when she recorded
conversations between her daughter and the plaintiff.  In upholding the trial court's
decision, the court of appeals looked to federal and state case law in which the vicarious-consent doctrine had been applied to both federal and state wiretap statutes. (8)  Pollock, 154
F.3d at 608-610.  The court adopted the rule set out in Thompson v. Dulaney, 838 F. Supp.
1535, 1544 (D. Utah 1993), and held that: 

	as long as the guardian has a good faith, objectively reasonable basis for
believing that it is necessary and in the best interest of the child to consent
on behalf of his or her minor child to the taping of telephone conversations,
the guardian may vicariously consent on behalf of the child to the recording.

Pollock 154 F.3d at 608-610.  Unlike adults, minors do not have the legal ability to consent
in most situations.  As the Thompson court noted, the vicarious-consent doctrine was
necessary because children lack both "the capacity to consent and the ability to give actual
consent."  838 F. Supp. at 1543.  

	Appellant argues that, in this case, J.H. did have the ability to consent because she
was thirteen years old at the time the conversations were recorded, whereas the children in
Thompson were only three and five years old.  However, the vicarious-consent doctrine has
also been applied to older children, including a fourteen-year-old in Pollock.  A minor's
actual ability to consent does not preclude her mother's ability to vicariously consent on
her behalf.  Thus the standard set out in Pollock is that vicarious-consent is acceptable if
the parent had an objectively reasonable, good-faith belief that consenting for the child was
in the child's best interest.  

	We agree with the court of appeals that Deborah had an objectively reasonable,
good-faith basis for believing that recording the conversations was in J.H.'s best interest.
Because the recording of the conversations meets the standards set out in Pollock, the
vicarious-consent given by Deborah satisfies the exception to the Texas wiretap statute.  
And, since it is not a violation of Penal Code section 16.02 to intentionally intercept an
oral communication if one party consented, no law was broken, and article 38.23 does not
render the evidence inadmissible. 

	Appellant states that this case may illustrate why a vicarious-consent exception
should be added to the statute, but he argues that it should be added by the legislature and
not the courts.  However, by holding that a parent can give vicarious-consent for a child, we
are not adding a new exception to the wiretap statute.  Rather, we are saying that vicarious-consent, which is a type of consent recognized in many contexts in the law regarding the
parent-child relationship, also applies to the existing consent exception to the wiretap
statute. 

Admissibility of the Transcript

	Appellant concedes that if the audiotape were admissible, his complaint regarding
the admissibility of the transcript of the recorded conversations would be moot.  Therefore,
because the audiotape was properly admitted, the transcript was also admissible, and we do
not need to address Appellant's second ground for review.  The court of appeals did not err
in failing to consider the merits of this claim.  

Cumulation of Sentences

	Appellant argues that the trial judge erred in cumulating the two sentences imposed
by the jury.  He claims that this cumulation order was improper because 1) it violated
Apprendi by assessing a punishment greater than what was authorized by the jury who
determined the sentence, and 2) the jury, rather than the judge, should determine whether
sentences should be cumulated.  We dealt with each of these issues in Barrow v. State, 207
S.W.3d 377 (Tex. Crim. App. 2006), holding that it was within the trial court's discretion to
cumulate the sentences, and that the cumulated sentence did not violate Apprendi.  As we
stated in Barrow, the Apprendi line of cases does not apply to a trial court's decision to
cumulate jury-imposed sentences.  Barrow, 207 S.W.3d at 379.  While the opinion of the
court of appeals inaccurately implies that Apprendi is violated only when the sentence
exceeds the statutory maximum for the offense, the court was correct that the sentence in
this case did not violate Apprendi and its progeny. (9)  Alameda, 181 S.W.3d at 781.  

	In Barrow, we also determined that the decision to cumulate sentences does not turn
on a finding of fact, so even if the jury assessed the sentences, a trial judge may order that
the sentences run consecutively.  Barrow, 207 S.W.3d at 380.  Although the court of
appeals did not have the benefit of our decision in Barrow at the time of its decision, the
court properly held that the trial court did not err in cumulating the sentences imposed by
the jury.

CONCLUSION

	We hold that the doctrine of vicarious-consent applies to the consent exception of
the wiretapping statute.  Because the victim's mother provided the consent necessary for
the affirmative defense to the statute prohibiting wire tapping, it was not a violation of
Penal Code section 16.02 to record the conversations.  Therefore, the audiotape was
legally obtained and was not rendered inadmissible by article 38.23.  Since the audiotape
was properly admitted, the admissibility of the transcript of the recorded conversations is
not at issue, and the court of appeals did not err in failing to consider the merits of this
claim.  Although the jury imposed the two 30-year sentences, it was within the trial judge's
discretion to decide whether to order that the sentences be served consecutively.  The court
of appeals properly rejected Appellant's arguments regarding the cumulation of his
sentences and upheld the trial court's cumulation order.  The decision of the court of
appeals is affirmed.

								Meyers, J.

Delivered: June 27, 2007

Publish
1. Members of Appellant's family made statements to Deborah which led her to believe that
Appellant and J.H. were in frequent contact with each other.  Deborah was also aware that Appellant
had allowed J.H. to do things that she did not approve of, such as driving even though she was not old
enough, and lying about her age in order to join a gym.  
2. All future references to sections refer to Texas Penal Code, unless otherwise specified.
3. All future references to articles refer to Texas Code of Criminal Procedure unless otherwise
specified.
4. Texas Penal Code Section 16.02(b) states that a person commits an offense if the person:

		(1)intentionally intercepts, endeavors to intercept, or procures another person to
intercept or endeavor to intercept a wire, oral, or electronic communication;

		(2)intentionally discloses or endeavors to disclose to another person the contents of a
wire, oral, or electronic communication if the person knows or has reason to know the
information was obtained through the interception of a wire, oral, or electronic
communication in violation of this subsection;

		(3)intentionally uses or endeavors to use the contents of a wire, oral, or electronic
communication if the person knows or is reckless about whether the information was
obtained through the interception of a wire, oral, or electronic communication in
violation of this subsection.
5. Under section 16.02(c), it is an affirmative defense to prosecution under Subsection (b) that:

		(4) a person not acting under color of law intercepts a wire, oral, or electronic
communication, if:

 		(A) the person is a party to the communication; or

		(B) one of the parties to the communication has given prior consent to the interception,
unless the communication is intercepted for the purpose of committing an unlawful act.

6. Texas Family Code section 151.001 lists the rights and duties of a parent: 

			(a) A parent of a child has the following rights and duties:
(6) the right to consent to the child's marriage, enlistment in the
armed forces of the United States, medical and dental care, and
psychiatric, psychological, and surgical treatment;
(7) the right to represent the child in legal action and to make other
decisions of substantial legal significance concerning the child;
7. 18 U.S.C. § 2511(1)(a) states in relevant part that any person who intentionally intercepts any
wire communication shall be punished.  The federal analog to the consent exception is in 18 U.S.C. §
2511(2)(d) and states that it is not unlawful for a person not acting under color of law to intercept a
wire communication where such person is a party to the communication or where one of the parties to
the communication has given prior consent to such interception unless such communication is
intercepted for the purpose of committing any criminal act.
8.  The court referenced Campbell v. Price, 2 F. Supp. 2d 1186 (E.D. Ark. 1998), where the
vicarious-consent doctrine was applied to Title III; Silas v. Silas, 680 So. 2d 368 (Ala. Civ. App.
1996) and State v. Diaz, 308 N.J. Super. 504, 706 A.2d 264 (N.J. Super. Ct. App. 1998), which
applied the vicarious-consent doctrine to the respective state's wiretap statutes; and Williams v.
Williams, 229 Mich. App. 318, 581 N.W.2d 777, 1998 WL 180849 (Mich. Ct. App. 1998) and
West Virginia Dep't of Health &amp; Human Resources v. David L., 192 W. Va. 663, 453 S.E.2d 646
(W. Va. 1994), which addressed the vicarious-consent doctrine under both federal and state wiretap
statues.
9. The Apprendi line of cases determined that, when a defendant elects to have a jury assess
punishment, any finding of fact that increases the maximum punishment that can be assessed must be
made by the jury. 


